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                                                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                                                                                           Date   of   entry            11ZIBZ2019




                          HENRY           TIMOTHY                          date          of    birth                DOB                                                        1950               telephone                       number

                                                        was               interviewed                at         the             Federal                  Bureau                of          Investigation                             FBI
               office             located                  at         2901             Leon      C        Simon                 Boulevard                           New        Orleans                     Louisiana

               Also           present                 during                    the      interview                  was             Assistant                       United                 States              Attorney
               western              District                        of          Louisiana                 Kelly                 Uebinger                        Attorney                    Stephen                   London                 and

               FBI        Financial                     Analyst                     Jill       Zeringue                             After            being            advised                     of       the         identities

               of     the         interviewing                                  Agents         and        the         nature                 of          the         interview                          TIMOTHY                   provided
               the        following                     information


                      TIMOTHY                   first               met           JASON        ROGERS               WILLIAMS                     through                  NICOLE                  BURDETT                         BURDETT

               was        a      friend               of       TIMOTHY's                      father-in-law                             EUNICE                  TRENTACOSTA                               TRENTACOSTA
               knew           BURDETT's                    family                        TRENTACOSTA                       was          a    former accountant                                                 BURDETT                asked

               TRENTACOSTA                         about              amending                 tax        returns                           TRENTACOSTA                             referred BURDETT                                  to

               TIMOTHY                        In      or       around                  2012         TIMOTHY                     met         with               WILLIAMS                    and         BURDETT               at

               TRENTACOSTA's                            residence                             WILLIAMS                wanted                 his               2008            2009               2010                and         2011         tax

               returns              amended                    because                   the     returns                   had          been             done         incorrectly                                     WILLIAMS
               owed           money             to      the               Internal             Revenue                Service                    IRS                      Ultimately                             TIMOTHY

               reviewed                  the          tax           returns                and      changes                     were         made               and       accepted                      by       the          IRS
               TIMOTHY              noted               that                some         of    the        tax         returns                    had            been           done             incorrectly

               previously                          but         not              all      of    the        returns                           Some               of    the            returns               did          not          have

               all        of      the           expenses                        listed         and        some             expenses                      were         on            the         wrong            schedules


                      TIMOTHY                  worked                 as          an     accountant                   for             various                   companies                       and        retired                  in       or

               around             2015                  TIMOTHY                     last       worked               for             ROBINSON                    LUMBER               COMPANY                          TIMOTHY                has

               conducted                  accounting                              work        for    his            entire                  professional                              life


                      TIMOTHY                   conducted                         tax      preparation                          work         for               WILLIAMS                    and         BURDETT                from           2012

               through              2017                   During                   that       period                 TIMOTHY                    did            not       routinely                        interact                   with

               WILLIAMS                  and          BURDETT


                      TIMOTHY                   has        had              no      contact          with             WILLIAMS                       or         BURDETT                     or         their           attorneys




      Investigationen             1105 2019                                     New     Orleans             Louisiana                        United                 States                 In     Person

     pile           194B-NO-2085105                                                                                                                                                             Date   drafted         11062019

     by
               Todd          A    Goodson                      Timothy                 L    Moore

     nis       doe ument co              ne           recorn        end         ons nor conct usions of         FBI                              o   f         FBI and             oaned                              and         contents         not
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             since           TIMOTHY          was    initially             interviewed              by    the       FBI    in    April       2019

                   TIMOTHY              did    not       know       why    WILLIAMS           and    BURDETT          stopped          using       TIMOTHY           as       a

             their           tax    preparer                  TIMOTHY       did        not    believe          they       were       disastisfied with

             TIMOTHY's              work            TIMOTHY          thought           that    WILLIAMS             and    BURDETT          received        a       large

             settlement                 through          their       law    practice           and       was    advised          to    utilize        another             tax

             preparer                   BURDETT          told       TIMOTHY        that       WILLIAMS          and       BURDETT       were       referred              to

             another              tax    preparer


                   In        or    around       2012           after       TIMOTHY           initially          met with             WILLIAMS       and     BURDETT

             at    TRENTACOSTA's                    residence              TIMOTHY           met    with       WILLIAMS          at    WILLIAMS           office

             where           they       reviewed          WILLIAMS               amended       tax       returns          Form       1040       WILLIAMS

             approved              and    signed          the       amended        returns               WILLIAMS          told       TIMOTHY       that

             WILLIAMS              amended          the       returns       because           he    did    not       feel       like    he    owed       that       much

             money           to    the    IRS            This       was    the     last       meeting          that       TIMOTHY       had     with

             WILLIAMS                   Thereafter                 TIMOTHY        interacted             exclusively             with       BURDETT


                   BURDETT              was    an    attorney             but     was    also       the    office          administrator for

             WILLIAMS                   BURDETT          communicated              with       TIMOTHY          by    telephone          and     brought             the

             QuickBooks                 details          to    TIMOTHY             The       QuickBooks             details          were    paper       copies

             that        included             profit          and    loss        statements              balance          sheets        general          ledger
             and        financials                  If    TIMOTHY          had     any       questions              TIMOTHY          called     BURDETT             and

             BURDETT              would       relay       the       questions           to    WILLIAMS               TIMOTHY          also    prepared
             BURDETT's              personal             taxes       for    tax        years       2013    through          2017


                   BURDETT              retrieved             the    tax preparations                    from TIMOTHY                including        the       tax

             forms           8879         BURDETT             provided           the    items       to    WILLIAMS          who       then    signed        the          tax

             forms           6879         BURDETT             then       returned        the       signed       forms       to       TIMOTHY       and    TIMOTHY

             electronically                    filed          the    tax    returns                TIMOTHY          stated       that       there     were          no

             questions              about       the       completed              returns


                   TIMOTHY              believed          that       BURDETT           prepared          the    QuickBooks             documents            but          was

             not        sure       that       she    prepared             them     or    just       printed          them       to    provide       to    TIMOTHY

             BURDETT              never       mentioned             anyone        else       performing the                accounting           for      WILLIAMS

             and        BURDETT


                   TIMOTHY              prepared          and       filed        the    forms 1099             for    WILLIAMS          and     BURDETT

             BURDETT              provided          TIMOTHY          a    list     and       individuals             and    the       amounts       they        were

             paid             TIMOTHY          gave       BURDETT          the     completed             forms       1099       copies       for    the

             individuals                 and    filed          the       1099s     along       with       form       1096            TIMOTHY       did    not
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           prepare               forms       W2            TIMOTHY            only         encountered                    forms W2              that       were     issued              to

           WILLIAMS               from       his       employment                 with           the       City       of    New           Orleans             TIMOTHY             stated

           that        it        was    not       unusual             that        a       law     firm did                not       have        employees


                    TIMOTHY             was       provided              a     copy         of     the       2013          Profit                Loss        PL          statement

           and       2013         Schedule             C    for       WILLIAMS              by        IRS    Criminal Investigations                                    Special

           Agent            SA         Timothy             Moore 1               TIMOTHY              acknowledged                       his    handwriting              on       the        PL
           statement               copies                  TIMOTHY            noted         that           the       contract                 labor       amount        in    line           11

           of       the     Schedule              C    was       different                 than        contract             labor              amount       on     the       PL
           statement                    TIMOTHY             indicated                 that        the       discrepancy                    must       have        been       an    error
           TIMOTHY               stated       that          the       last        line           for       the       contract                 services       matched              the

           amount           on     page       2       of    the       PL              TIMOTHY              stated          it       was        an    error by           TIMOTHY                   No

           one         including              BURDETT                 told        TIMOTHY              to    enter          the           amount            TIMOTHY           stated

           that        the        life       insurance                expense              listed           on       page       2    of        the    PL     was        listed           as       a

           office           liability                 expense           on       the       Schedule              C    by    TIMOTHY                 because        that       was        how

           the       item was            provided                to     TIMOTHY             by        WILLIAMS             and       BURDETT                TIMOTHY           stated

           that       he         reviewed             the    tax        returns             with           BURDETT                  TIMOTHY           sated        he    knew           how       to

           prepare           tax        returns                  TIMOTHY              did        not       know       if    he       had        made      mistakes            or        if

           WILLIAMS               and    BURDETT             told           TIMOTHY              to    use       the       numbers              provided                TIMOTHY

           stated           that        it    was          not    his         idea               TIMOTHY             stated          he        charges        a    fee       from         300
           to       500      to        prepare             tax        returns               TIMOTHY              stated             that        he    prepared           the       tax

           returns               for    WILLIAMS             and        BURDETT             and        provided             the           returns          for     them       to

           review


               At    this         point       during             the        interview                  TIMOTHY             and       his        attorney           London          met

           privately               in    another             room           for       a    period           of       time before                    continuing           the

           interview

                    TIMOTHY            stated          that       BURDETT                 asked        TIMOTHY             to       lower           the    amounts           owed        on

           the       tax     returns                   During           TIMOTHY's                 first          meeting with                       WILLIAMS        in       2012
           WILLIAMS               told       TIMOTHY             that        WILLIAMS                 had    a       lot    of       money           owed     to    the       IRS
           WILLIAMS               assured             TIMOTHY           that          WILLIAMS               returns                had       been        prepared           wrong           and

           that       WILLIAMS               should          have           had       more expenses                         WILLIAMS                 wanted        his       returns

           reviewed                    WILLIAMS             asked           if    there          was        anything                TIMOTHY           could        do    to       reduce

           WILLIAMS                tax       burden               TIMOTHY                 felt        he    had       a    personal                 relationship              with

           BURDETT           and        he    needed             to    make           WILLIAMS              and       BURDETT              happy            WILLIAMS               income

           had       varied            over       the       years                NICOLE           told       TIMOTHY                it    was        okay    to     use       the

           provided               information                to       reduce              the     tax       burden                  TIMOTHY           did    things           he        should

           not       have done                    TMOTHY          took           numbers              from the             QuickBooks                 information                  that
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               had       not         been    used       in       the          previously             filed       tax    returns           and    used       the    numbers

               to       lower         the    tax       burden                  For       example           TIMOTHY       used       numbers          from    the       PL
               statement               including                 personal                expenses           to    expense          as    contract          labor

               TIMOTHY               also    used       amounts                from the          general          ledger       to       expense       on    the    tax

               returns               although          the       information                   that    TIMOTHY          obtained          from       WILLIAMS          and

               BURDETT               did    not    provide                detailed             descriptions             for    the       expenses            Some          of       the

               QuickBooks                  information                   was       mislabeled in                their    reports               WILLIAMS          recalled
               that        he        was    told       that          one       of    the       expenses          was    for    paying          witnesses          to

               testify


                        TIMOTHY            and    BURDETT                discussed             the    tax       returns       via       telephone            TIMOTHY

               told        BURDETT           what       numbers                he    would       be    using       as    expenses               BURDETT          either

               approved               of    the    TIMOTHY's                   work       or    requested          that       TIMOTHY          further       lower             the

               taxes           using        deductions                        TIMOTHY          would       then    utilize          more items             from the             PL
               statement               as    deductions                        TIMOTHY          took       the    numbers          that    were       not    utilized

               and       plugged            them       in    on          the       tax    return       as       various       expenses               BURDETT       told

               TIMOTHY               that    she       was       not          an    accountant             so    there       were       probably       items       on          the

               PL        that         should       not       have             been       there         BURDETT          told       TIMOTHY       to    use       all       the

               numbers               provided          if    TIMOTHY                needed       them       to    further          reduce       the    tax

               liability                    TIMOTHY          would             have       to    talk       to    BURDETT       a    few    times before                he

               finalized the                     tax    returns                     After       discussing             with    BURDETT           BURDETT          would

               tell        TIMOTHY           that       she          needed          to    discuss          the    amounts          with       WILLIAMS          and       that

               she       would         get       back       to       TIMOTHY               This       back       and    forth       with       BURDETT       would

               continue               until       BURDETT                was       satisfied with                the    numbers            TIMOTHY          believed

               that        BURDETT           was       just          a    go       between       because          she    always          had    to    discuss          with

               WILLIAMS               before       any       approval                of    TIMOTHY's             work


                        Regarding            WILLIAMS                    2013       tax    return           TIMOTHY          did    know       that    he    used          a    life

               insurance               expense          as       a       business          expense          to    lower       WILLIAMS           tax       liability
               TIMOTHY               did    not    remember                   where       he    got    the       amount       he    utilized          for    the

               contract               labor       expense                on    WILLIAMS              tax    return            The       amount       used    for       office

               building               expense          was       obtained                from    BURDETT               The    office       building          expense

               amount           was        the    mortgage                payment          for       WILLIAMS           personal          residence          located                on

               General               Pershing          Street                  TIMOTHY          knew       that    mortgage             payment       for    a    personal
               residence               could       not       be          deducted          as    a    business          expense           but    TIMOTHY          deducted

               it       anyway              Regarding                the       deduction             for    legal       and    professional                services

               TIMOTHY               did    not    know          that          WILLIAMS              mother was          being          paid    professional
               fees             Regarding              the       taxes             and    licenses          deduction              TIMOTHY       just       accepted                the
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           amount          provided          by    BURDETT                TIMOTHY          did    not    know       that       the    amount          was

           personal             taxes       owed       by WILLIAMS                   Regarding          the       deduction          for    repairs             and

           maintenance                 TIMOTHY          did        not    know       that    the       amount       was       for    repairs          of    a


           personal             residence          owned          by WILLIAMS              located       on       Marengo       Street            TIMOTHY

           knew      that        WILLIAMS              office        was       located       on       Saint       Charles       Avenue           not       Marengo
           Street               BURDETT        did      tell        TIMOTHY          that    WILLIAMS             did    work       from    his       personal
           residence                 but    the    Marengo           Street          deduction          should          have    not    been       included            on

           WILLIAMS              2013       tax    return                Additionally                 cash    withdrawals             from       Automatic
           Teller         Machines            ATMs           were        also       not    legitimate             business          expenses           but       were

           included             on    WILLIAMS              2013     tax       return            The    continuing             education          expense
           amount          on    the       2013    return           was    derived          from the          PL        statement          for    WILLIAMS

           personal             expenses               TIMOTHY           stated       that       BURDETT          and WILLIAMS               told          TIMOTHY

           that      the        continuing             education           amount          was    for    professional                school       training
           not      for     gym       membership                  BURDETT           also    asked       TIMOTHY          to    expense       clothing             and

           dry cleaning                for    WILLIAMS                   TIMOTHY          knew    that       charitabie             contributions                were

           not      business           expenses              thus        were       not    legitimate             deduction          amounts          on

           WILLIAMS              2013       tax    return


                  TIMOTHY            stated       that       WILLIAMS           and       BURDETT       would       have       stopped       using          TIMOTHY

           to     prepare            their     taxes         if     TIMOTHY          did    not       prepare       the       taxes    the       way       WILLIAMS
           and      BURDETT           wanted            TIMOTHY           did       tax    preparation             for    a    source       of    additional

           income          that       he    used       to    pay     for       his    children's             college          education               TIMOTHY

           prepared             approximately                 100    tax       returns       per       year         Initially              preparing             taxes

           for      BURDETT           was    more           like     a    friendship             thing             After       continuing             to    prepare
           BURDETT's             and       WILLIAMS            taxes       the       way    they       wanted           TIMOTHY       became          numb       to

           their          demands            TIMOTHY          did        not    consistently             scrutinize             the    information                they

           provided                  Some    of    the       tax     deduction             amounts       were       mistakes          made       by    TIMOTHY
           but      some        were       numbers          that     TIMOTHY          concocted          after          being       asked    to       change

           amounts          by       BURDETT       and       WILLIAMS                BURDETT          never       asked       TIMOTHY       to    do       the    tax

           returns          correctly


                  Regarding            WILLIAMS              2014        tax    return            None       of    the    numbers          used       for       cost
           of     goods         sold        should          have     been       used       for    a    law    practice               The    insurance

           deduction                 which    was       automobile              insurance              should       not       have    been       included

           TIMOTHY          deducted          the       automobile              expenses          because          he    was    told       that       WILLIAMS

           was      driven           around       in    WILLIAMS               personal          vehicle          by WILLIAMS              cousin

           TIMOTHY          did not          know       that        the    law       office       rent       expense          was    actually          10 000
           that      WILLIAMS              paid    in       rent     for       an    apartment               TIMOTHY          knew    that       the       5000
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           deduction                 for       Mardi        Gras        was       not       a    legitimate             expense


                  Regarding                WILLIAMS           2015          tax       return               The    amount        for       cost           of    goods          sold
           was     derived                from    17 000           of       WILLIAMS                 personal       expenses              that          TIMOTHY          used       to

           reduce          tax           liability            The       contract                 labor deduction                     was          94 000           in    excess

           and     should                not    have    been       used               The       student          loans    and        payments             to       WILLIAMS
           mother          should              also    not    have          been       used          as    an    expense         but          TIMOTHY          plugged             the

           numbers              into       the    return anyway                        Other          illegitimate expenses                             that       TIMOTHY

           listed          on        WILLIAMS           2015       return             inciuded             ATM    withdrawals                     dry cleaning

           ceiiular              phones           iTune       charges                 clothing              campaign           contributions                   and       gifts

                  Regarding                WILLIAMS           2016          tax       return               The    amount        for       contract                 labor           was

           93 000               in       excess       and    should          not       have          been       used      The        automobile                insurance

           should          not           have    been       deducted          after             already          taking        the    standard                mileage
           deduction                      The    1700         rent          for       the       Baronne          Street        residence                should          not    have

           been      deducted                    BURDETT          did       not       tell       TIMOTHY          that    the        Baronne             Street          rent

           payments              were          made    to    WILLIAMS                 current             spouse        ELIZABETH                 MARCELL               TIMOTHY

           did     not          know       where       WILLIAMS             resided             after       WILLIAMS            divorce                  TIMOTHY

           utilized              utility          expenses             from       a    variety             of    addresses           as       a    business

           deduction                 aithough          TIMOTHY          knew          that       WILLIAMS           only        business                office          was

           located              on       Saint    Charles          Avenue               Again              claimed       expenses                 for    Mardi          Gras
           iTunes               clothing              and    dry cleaning                   were          not    legitimate           business                expenses
           TIMOTHY              did       not    know       that       the    memberships                   deduction           was       actually             for

           WILLIAMS                  gym       membership               TIMOTHY             stated          that    anything              that          WILLIAMS

           purchased                     TIMOTHY       found       a    place          to       plug       that    number        into             WILLIAMS              tax

           return


                  Regarding                WILLIAMS           2017          tax       return               Many    of    the     deductions                   on      the

           Schedule              C       were    not    legitimate                business                expenses             The    advertising                     expense
           deduction                 was       actually       political                polling             expense       for     WILLIAMS                 political

           campaign                      Other    improper             or    inflated                deductions          included                 the    amounts             for

           contract              labor           insurance              WILLIAMS                 mother's          dental        insurance                    Mardi          Gras
           charitable                    contributions                 gym    membership                    and    funds        paid          to    MARCELL             for

           rent            TIMOTHY              reiterated             that       TIMOTHY             was       never    told        that          WILLIAMS             was

           residing              at       the    residence             owned          by MARCELL


                  TIMOTHY                stated       that    he       attempted                to    contact       BURDETT           after             initially

           receiving                 a    subpoena          from the          FBI           but       BURDETT       would        not          return          TIMOTHY's

           call            BURDETT's              attorney              MIKE          MAGNER              eventually           sent       a       text    message             to
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           TIMOTHY               telling          TIMOTHY       not    to       contact        BURDETT


                   TIMOTHY             stated       that       he    was       known     as    Bubby         to    his       friends           including
           BURDETT


                  TIMOTHY              stated       that       he    discussed           2015       Schedule       Kl    issues          with       BURDETT
           but       BURDETT            never       sent       any    information              to    TIMOTHY       regarding             the    Schedule             K1

                  TIMOTHY              remembered having                   a    conversation           with       BURDETT          about       her    tax

           liability                    TIMOTHY          and    BURDETT          had     the    same       back    and       forth       discussions
           about            BURDETT's             tax    returns       as       they     had    about       WILLIAMS           returns
           Discussions                  continued          until       BURDETT           agreed       to    the    amount          of    her    tax

           liability                    TIMOTHY          stated       that       he    only     prepared          taxes       in    this manner                for

           BURDETT               and    WILLIAMS               TIMOTHY          considered           WILLIAMS           tax    return          to    be    a    high
           profile                tax    return


                  TIMOTHY              prepared          the    tax    forms          1099     and    wrote       off    the       expenses          for       BOBBY

           HJORTSBERG                  for    the       2013    and    2014        tax      years          TIMOTHY       stated          that       the    numbers

           provided               by    HJORTSBERG             appeared          to    be     accurate            There       was       no    back    and       forth

           discussions                  with       HJORTSBERG


                  There           were       no    discussions             with       WILLIAMS         BURDETT          or    HJORTSBERG             about       cash

           income


                  TIMOTHY's              home       telephone          number          was                              and    service          provider             was

           Cox            TIMOTHY's               cellular          telephone          number        was                                and    service

           provider               was    Verizon
